AU 450 (Rev. 11/11) Judgment in a Civil Action
                                                                                                                   SEP i2Zpj9
                                          UNITED STATES DISTRIcT COURT                                     U.S. DISi-R
                                                                                                                       IC7
                                                                                                               VV EEL
                                                                 for the                                              ‘N      TWVND
                                                     Northern        .         West Virginia
                                                                Distnct of


JOHN WALTERS
                              Plaintiff
MICHAEL MARTIN, Warden, Huttonsville
Correctional Center                                                 )         Civil Action No.      5:17-CV-96
                                                                    )
                             Defendant                              )

                                                 JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):



                that the Magistrate Judge’s Report and Recommendation is AFFIRMED and ADOPTED; that Respondent’s
                motion for Summary Judgment is GRANTED; that Petitioner’s Petition is Denied; that Petitioner’s
                Objections are OVERRULED; that Respondent’s Motion for withdrawal and termination of counsel is
                GRANTED; that Certificate of Appealability is DENIED; and that this civil action is DISMISSED WITH
      other:    PREJUDICE and STRICKEN from the active docket of this Court.



This action was (check one):


     decided by Judge             FREDERICK P. STAMP, JR.

                                                                             Cheryl Dean Riley
Date:      09/12/2019                                                        CLERK OF COURT


                                                                                        S. 0. Abraham, Deputy Clerk

                                                                                         Signature of Clerk or Deputy Clerk
